                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                              WESTERN DIVISION



 UNITED STATES OF AMERICA,
                Plaintiff,                                   No. CR07-4068-MWB
 vs.                                                 ORDER REGARDING
                                                MAGISTRATE’S REPORT AND
 KHOI VAN HA,                                        RECOMMENDATION
                                                 CONCERNING DEFENDANT’S
                Defendant.                          MOTIONS TO DISMISS
                                   ____________________



                                  TABLE OF CONTENTS

I. INTRODUCTION . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
      A. Procedural Background . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
      B. Factual Background . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3

II. LEGAL ANALYSIS . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4
      A. Standard Of Review . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4
      B. Defendant’s Objections To Report And Recommendation . . . . . . . . . 10
            1.    Court’s acceptance of plea agreement . . . . . . . . . . . . . . . 10
            2.    Hypothetical effect of use of the plea agreement . . . . . . . . 11

III. CONCLUSION . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12




   Case 5:07-cr-04068-LTS-KEM            Document 258        Filed 04/09/08      Page 1 of 12
                                    I. INTRODUCTION
                                 A. Procedural Background
       On September 27, 2007, an Indictment was returned against defendant Khoi Van
Ha, charging him with conspiracy to manufacture, possess with intent to distribute and
distribute one thousand or more marijuana plants, in violation of 21 U.S.C. §§ 841(a)(1),
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841(b)(1)(A) and 846.        On December 20, 2007, a Superseding Indictment was returned
against defendant Ha, again charging him with conspiracy to manufacture, possess with
intent to distribute and distribute one thousand or more marijuana plants, in violation of
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21 U.S.C. §§ 841(a)(1), 841(b)(1)(A) and 846.             On January 24, 2008, a Second
Superseding Indictment was returned against defendant Ha, charging defendant Ha with
conspiracy to manufacture, possess with intent to distribute and distribute one thousand or
more marijuana plants within 1000 feet of a playground or school, in violation of 21
U.S.C. §§ 841(a)(1), 841(b)(1)(A), 846 and 860.
       Defendant Ha has filed a Motion To Dismiss Or Alternatively Prohibit Use of Plea
Agreement in which he requests that the court dismiss the Second Superseding Indictment
as to him, or alternatively order that a plea agreement he signed, but which was not signed
by the prosecution, cannot be used at trial. The prosecution filed a timely response to

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           Six co-defendants were also charged in the original Indictment in this case.
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        Although additional charges were added in the Superseding Indictment, defendant
Ha was not named in any of the new charges. As to the conspiracy charge contained in
the Superseding Indictment, the Superseding Indictment shortened the alleged length of
time of the conspiracy to “From a date unknown but prior to November 2003 through
about September 2007. . .” Superseding Indictment at Count 2. The original Indictment
alleged the length of time of the conspiracy to be “From a date unknown but prior to
November 2002 through about September 2007. . .” Indictment at Count 2. In all other
material respects, the conspiracy charge against defendant Ha remained unchanged
between the original Indictment and the Superseding Indictment.

                                               2


   Case 5:07-cr-04068-LTS-KEM           Document 258      Filed 04/09/08    Page 2 of 12
defendant Ha’s motion in which it agrees the plea agreement cannot be used against
defendant Ha at trial but resists dismissal of the Second Superseding Indictment.
       Defendant Ha’s Motion To Dismiss was referred to Chief United States Magistrate
Judge Paul A. Zoss, pursuant to 28 U.S.C. § 636(b). On March 5, 2008, Judge Zoss filed
a Report and Recommendation in which he recommends that defendant Ha’s motion be
granted in part and denied in part. Judge Zoss recommended that any admission made by
defendant Ha in the proposed plea agreement could not be used against him in any way at
trial but that his request that the Second Superseding Indictment be dismissed be denied.
       Defendant Ha has filed objections to Judge Zoss’s Report and Recommendation with
respect to his request that the court dismiss the Second Superseding Indictment. The court,
therefore, undertakes the necessary review of Judge Zoss’s recommended disposition of
defendant Ha’s Motion To Dismiss.


                                B. Factual Background
       In his Report and Recommendation, Judge Zoss made the following findings of fact:
                      At some time between December 20, 2007, and January
              15, 2008, the Government presented Ha with a proposed plea
              agreement to dispose of the charges in Count 2 of the
              Superseding Indictment.       (See Doc. No. 193-3, Plea
              Agreement) After reviewing the plea agreement with his
              attorney and an interpreter, Ha initialed the plea agreement on
              January 15, 2008, indicating his acceptance of most of the
              agreement’s terms. However, he did not initial paragraph 28
              of the plea agreement, requiring the disclosure and forfeiture
              of firearms and other items. (See id., p. 9, ¶ 28)

                     The terms of the plea agreement accepted by Ha
              required him, among other things, to plead guilty to Count 2
              of the Superseding Indictment; to stipulate to his involvement


                                            3


   Case 5:07-cr-04068-LTS-KEM         Document 258      Filed 04/09/08    Page 3 of 12
             with at least 400 kilograms of marijuana, resulting in a base
             offense level of at least 28; and to cooperate with the U.S.
             Attorney’s Office and law enforcement agencies in further
             investigations of controlled substance violations. Ha also
             stipulated to certain facts relating to his involvement in the
             alleged conspiracy. (See id., pp. 12-13, ¶ 38) Further, Ha
             waived his rights under Federal Rule of Criminal Procedure
             11(f) and Federal Rule of Evidence 410, and agreed the
             stipulated facts set forth in the plea agreement could “be used
             against him at any time in any proceeding should he violate or
             refuse to follow through on [the] plea agreement, regardless of
             whether the plea agreement has been accepted by the district
             court.” (Id., p. 12, ¶ 38)

                   The U.S. Attorney received the plea agreement signed
            by Ha on January 18, 2008. (Doc. No. 203, p. 2) On January
            24, 2008, the Government obtained the SSI against Ha, his six
            original codefendants, and three additional codefendants.
Report and Recommendation at p. 2. Upon review of the record, the court adopts all of
Judge Zoss’s factual findings.


                                 II. LEGAL ANALYSIS
                                 A. Standard Of Review
      The court reviews the magistrate judge’s report and recommendation pursuant to
the statutory standards found in 28 U.S.C. § 636(b)(1):
             A judge of the court shall make a de novo determination of
             those portions of the report or specified proposed findings or
             recommendations to which objection is made. A judge of the
             court may accept, reject, or modify, in whole or in part, the
             findings or recommendations made by the magistrate judge.
             The judge may also receive further evidence or recommit the
             matter to the magistrate judge with instructions.



                                           4


   Case 5:07-cr-04068-LTS-KEM        Document 258      Filed 04/09/08    Page 4 of 12
28 U.S.C. § 636(b)(1) (2006); see Fed. R. Civ. P. 72(b) (stating identical requirements);
N.D. IA. L.R. 72, 72.1 (allowing the referral of dispositive matters to a magistrate judge
but not articulating any standards to review the magistrate judge’s report and
recommendation). While examining these statutory standards, the United States Supreme
Court explained:
              Any party that desires plenary consideration by the Article III
              judge of any issue need only ask. Moreover, while the statute
              does not require the judge to review an issue de novo if no
              objections are filed, it does not preclude further review by the
              district judge, sua sponte or at the request of a party, under a
              de novo or any other standard.
Thomas v. Arn, 474 U.S. 140, 154 (1985). Thus, a district court may review de novo any
issue in a magistrate judge’s report and recommendation at any time. Id. If a party files
an objection to the magistrate judge’s report and recommendation, however, the district
court must “make a de novo determination of those portions of the report or specified
proposed findings or recommendations to which objection is made.”                28 U.S.C.
§ 636(b)(1). In the absence of an objection, the district court is not required “to give any
more consideration to the magistrate’s report than the court considers appropriate.”
Thomas, 474 U.S. at 150.
       De novo review, of course, is nondeferential and generally allows a reviewing court
to make an “independent review” of the entire matter. Salve Regina College v. Russell,
499 U.S. 225, 238 (1991) (noting also that “[w]hen de novo review is compelled, no form
of appellate deference is acceptable”); see Doe v. Chao, 540 U.S. 614, 620-19 (2004)
(noting de novo review is “distinct from any form of deferential review”). The de novo
review of a magistrate judge’s report and recommendation, however, only means a district
court “‘give[s] fresh consideration to those issues to which specific objection has been


                                             5


   Case 5:07-cr-04068-LTS-KEM         Document 258       Filed 04/09/08    Page 5 of 12
made.’” United States v. Raddatz, 447 U.S. 667, 675 (1980) (quoting H.R. Rep. No. 94-
1609, at 3, reprinted in 1976 U.S.C.C.A.N. 6162, 6163 (discussing how certain
amendments affect 28 U.S.C. § 636(b))). Thus, while de novo review generally entails
review of an entire matter, in the context of § 636 a district court’s required de novo
review is limited to “de novo determination[s]” of only “those portions” or “specified
proposed findings” to which objections have been made. 28 U.S.C. § 636(b)(1); see
Thomas, 474 U.S. at 154 (“Any party that desires plenary consideration by the Article III
judge of any issue need only ask.” (emphasis added)). Consequently, the Eighth Circuit
Court of Appeals has indicated de novo review would only be required if objections were
“specific enough to trigger de novo review.” Branch v. Martin, 886 F.2d 1043, 1046 (8th
Cir. 1989). Despite this “specificity” requirement to trigger de novo review, the Eighth
Circuit Court of Appeals has “emphasized the necessity . . . of retention by the district
court of substantial control over the ultimate disposition of matters referred to a
magistrate.” Belk v. Purkett, 15 F.3d 803, 815 (8th Cir. 1994). As a result, the Eighth
Circuit has been willing to “liberally construe[]” otherwise general pro se objections to
require a de novo review of all “alleged errors,” see Hudson v. Gammon, 46 F.3d 785,
786 (8th Cir. 1995), and to conclude that general objections require “full de novo review”
if the record is concise, Belk, 15 F.3d at 815 (“Therefore, even had petitioner’s objections
lacked specificity, a de novo review would still have been appropriate given such a concise
record.”). Even if the reviewing court must construe objections liberally to require de
novo review, it is clear to this court that there is a distinction between making an objection
and making no objection at all. See Coop. Fin. Assoc., Inc. v. Garst, 917 F. Supp. 1356,
1373 (N.D. Iowa 1996) (“The court finds that the distinction between a flawed effort to
bring objections to the district court’s attention and no effort to make such objections is
appropriate.”). Therefore, this court will strive to provide de novo review of all issues

                                              6


   Case 5:07-cr-04068-LTS-KEM          Document 258       Filed 04/09/08    Page 6 of 12
that might be addressed by any objection, whether general or specific, but will not feel
compelled to give de novo review to matters to which no objection at all has been made.
       In the absence of any objection, the Eighth Circuit Court of Appeals has indicated
a district court should review a magistrate judge’s report and recommendation under a
clearly erroneous standard of review. See Grinder v. Gammon, 73 F.3d 793, 795 (8th Cir.
1996) (noting when no objections are filed and the time for filing objections has expired,
“[the district court judge] would only have to review the findings of the magistrate judge
for clear error”); Taylor v. Farrier, 910 F.2d 518, 520 (8th Cir. 1990) (noting the
advisory committee’s note to Fed. R. Civ. P. 72(b) indicates “when no timely objection
is filed the court need only satisfy itself that there is no clear error on the face of the
record”); Branch, 886 F.2d at 1046 (contrasting de novo review with “clearly erroneous
standard” of review, and recognizing de novo review was required because objections
were filed). The court is unaware of any case that has described the clearly erroneous
standard of review in the context of a district court’s review of a magistrate judge’s report
and recommendation to which no objection has been filed. In other contexts, however, the
Supreme Court has stated the “foremost” principle under this standard of review “is that
‘[a] finding is “clearly erroneous” when although there is evidence to support it, the
reviewing court on the entire evidence is left with the definite and firm conviction that a
mistake has been committed.’” Anderson v. City of Bessemer City, 470 U.S. 564, 573-74
(1985) (quoting United States v. U.S. Gypsum Co., 333 U.S. 364, 395 (1948)). Thus, the
clearly erroneous standard of review is deferential, see Dixon v. Crete Medical Clinic,
P.C., 498 F.3D 837, 847 (8th Cir. 2007) (noting a finding is not clearly erroneous even
if another view is supported by the evidence), but a district court may still reject the
magistrate judge’s report and recommendation when the district court is “left with a



                                             7


   Case 5:07-cr-04068-LTS-KEM         Document 258       Filed 04/09/08     Page 7 of 12
definite and firm conviction that a mistake has been committed,” U.S. Gypsum Co., 333
U.S. at 395.
       Even though some “lesser review” than de novo is not “positively require[d]” by
statute, Thomas, 474 U.S. at 150, Eighth Circuit precedent leads this court to believe that
a clearly erroneous standard of review should generally be used as the baseline standard
to review all findings in a magistrate judge’s report and recommendation that are not
objected to or when the parties fail to file any timely objections, see Grinder, 73 F.3d at
795; Taylor, 910 F.2d at 520; Branch, 886 F.2d at 1046; see also Fed. R. Civ. P. 72(b)
advisory committee’s note (“When no timely objection is filed, the court need only satisfy
itself that there is no clear error on the face of the record in order to accept the
recommendation.”). In the context of the review of a magistrate judge’s report and
recommendation, the court believes one further caveat is necessary: a district court always
remains free to render its own decision under de novo review, regardless of whether it
feels a mistake has been committed. See Thomas, 474 U.S. at 153-54. Thus, while a
clearly erroneous standard of review is deferential and the minimum standard appropriate
in this context, it is not mandatory, and the district court may choose to apply a less
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deferential standard. As noted above, defendant Ha has filed objections to Judge Zoss’s


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          The Eighth Circuit Court of Appeals, in the context of a dispositive matter
originally referred to a magistrate judge, does not review a district court’s decision in
similar fashion. The Eighth Circuit Court of Appeals will either apply a clearly erroneous
or plain error standard to review factual findings, depending on whether the appellant
originally objected to the magistrate judge’s report and recommendation. See United States
v. Brooks, 285 F.3d 1102, 1105 (8th Cir. 2002) (“Ordinarily, we review a district court’s
factual findings for clear error . . . . Here, however, the record reflects that [the
appellant] did not object to the magistrate’s report and recommendation, and therefore we
review the court’s factual determinations for plain error.” (citations omitted)); United
                                                                             (continued...)

                                            8


   Case 5:07-cr-04068-LTS-KEM         Document 258      Filed 04/09/08    Page 8 of 12
Report and Recommendation concerning his motion to dismiss. The court, therefore,
undertakes the necessary review of Judge Zoss’s recommended disposition of defendant
Ha’s Motion To Dismiss.




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         (...continued)
States v. Looking, 156 F.3d 803, 809 (8th Cir. 1998) (“[W]here the defendant fails to file
timely objections to the magistrate judge’s report and recommendation, the factual
conclusions underlying that defendant’s appeal are reviewed for plain error.”). The plain
error standard of review is different than a clearly erroneous standard of review, see
United States v. Barth, 424 F.3d 752, 764 (8th Cir. 2005) (explaining the four elements
of plain error review), and ultimately the plain error standard appears to be discretionary,
as the failure to file objections technically waives the appellant’s right to appeal factual
findings, see Griffini v. Mitchell, 31 F.3d 690, 692 (8th Cir. 1994) (stating an appellant
who did not object to the magistrate judge’s report and recommendation waives his or her
right to appeal factual findings, but then choosing to “review[] the magistrate judge’s
findings of fact for plain error”). An appellant does not waive his or her right to appeal
questions of law or mixed questions of law and fact by failing to object to the magistrate
judge’s report and recommendation. United States v. Benshop, 138 F.3d 1229, 1234 (8th
Cir. 1998) (“The rule in this circuit is that a failure to object to a magistrate judge’s report
and recommendation will not result in a waiver of the right to appeal ‘“when the questions
involved are questions of law or mixed questions of law and fact.”’” (quoting Francis v.
Bowen, 804 F.2d 103, 104 (8th Cir. 1986), in turn quoting Nash v. Black, 781 F.2d 665,
667 (8th Cir. 1986))). In addition, legal conclusions will be reviewed de novo, regardless
of whether an appellant objected to a magistrate judge’s report and recommendation. See,
e.g., United States v. Maxwell, 498 F.3d 799, 801 n.2 (8th Cir. 2007) (“In cases like this
one, ‘where the defendant fails to file timely objections to the magistrate judge’s report and
recommendation, the factual conclusions underlying that defendant’s appeal are reviewed
for plain error.’ We review the district court’s legal conclusions de novo.” (citation
omitted)).

                                               9


   Case 5:07-cr-04068-LTS-KEM           Document 258       Filed 04/09/08     Page 9 of 12
             B. Defendant’s Objections To Report And Recommendation
       1.     Court’s acceptance of plea agreement
       In his first objection to Judge Zoss’s Report and Recommendation, defendant Ha
asserts as follows:
                     Paragraph 38 of the plea agreement waived Ha’s rights
              under Federal Rule of Criminal Procedure 11(f) and Federal
              Rule of Evidence 410, and agreed the stipulated facts set forth
              in the plea agreement could “be used against him at any time
              in the proceedings should he violate or refuse to follow
              through on [the] plea agreement, regardless of whether the
              plea agreement has been accepted by the district court.”
Defendant’s Objections at ¶ 1 (emphasis original).
       The gist of defendant Ha’s objection here is that the conclusion reached by Judge
Zoss in his Report and Recommendation, that the admissions made by defendant Ha in the
proposed plea agreement could not be used against him, is incorrect because the use of
defendant Ha’s admissions is not dependant on the court accepting the plea agreement.
       This objection, however, fails to take into account the central premise of Judge
Zoss’s Report and Recommendation, namely that the proposed plea agreement between the
prosecution and defendant Ha cannot be enforced in any way because no prosecution
representative ever executed the plea agreement. As a result, the proposed plea agreement
does not constitute a binding agreement between defendant Ha and the prosecution. Plea
agreements are contracts, and are accordingly construed pursuant to ordinary contract
principles. United States v. Sanchez, 508 F.3d 456, 460 (8th Cir. 2007); United States v.
Thompson, 403 F.3d 1037, 1039 (8th Cir. 2005); United States v. DeWitt, 366 F.3d 667,
669 (8th Cir. 2004); Margalli-Olvera v. I.N.S., 43 F.3d 345, 351 (8th Cir. 1994); United
States v. Crawford, 20 F.3d 933, 935 (8th Cir. 1994); United States v. Britt, 917 F.2d
353, 359 (8th Cir. 1990), cert. denied, 498 U.S. 1090 (1991). The plea agreement here

                                            10


  Case 5:07-cr-04068-LTS-KEM         Document 258      Filed 04/09/08    Page 10 of 12
contains a provision that specifies that: “The agreement will not be deemed to be valid
unless and until all signatures appear where indicated below.” Plea Agreement at ¶ 42.
This provision clearly required that both parties sign the plea agreement as a condition
precedent to the formation of a binding contract between the prosecution and defendant Ha.
Because it is clear the parties to the plea agreement intended that the plea agreement
would not become binding until it was formally executed, then the plea agreement here is
not binding because no prosecution representative has signed it. See International Travel
Arrangers v. NWA, Inc., 991 F.2d 1389, 1405 (8th Cir.) (“Parties to an agreement may
agree that they will not be bound until the agreement is signed.”), cert. denied, 114 S. Ct.
345 (1993). Since the plea agreement is not a binding contract between the parties, the
court will not have occasion to determine whether or not to accept it. Accordingly, this
objection to Judge Zoss’s Report and Recommendation is overruled.
       2.     Hypothetical effect of use of the plea agreement
       In his second objection to Judge Zoss’s Report and Recommendation, defendant Ha
makes the following cryptical assertion:
              The defendant objects to the Report’s recommendation that,
              because of the government’s acquiescence in agreeing not to
              use the plea agreement against Ha at the upcoming trial, this
              makes same non-admissible; the government very likely
              acquiesced in same because, but for their acquiescence, the
              admissibility of the plea agreement would prejudice the plea
              agreement to the point of giving rise to a finding of
              prosecutorial misconduct and dismissal of the SSI.
Defendant’s Objections at ¶ 2.
       The court must first note that this objection, to quote Winston Churchill’s
description of Russia, “is a riddle wrapped in a mystery inside an enigma.” Winston
Churchill, October 1, 1939 Radio Broadcast, The Churchill Center found at http://


                                            11


  Case 5:07-cr-04068-LTS-KEM         Document 258       Filed 04/09/08    Page 11 of 12
www.winstonchurchill.org/i4a/pages/index.cfm?pageid=219. The court interprets this
objection as framing a hypothetical situation, i.e., what would be the result of a trial in
which the government was afforded the benefit of using the plea agreement against
defendant Ha while at the same time requiring Ha to face trial on the charge contained in
the Second Superseding Indictment, which was not the subject of the plea agreement.
Because this is not a situation presently before the court, the court declines defendant Ha’s
invitation to address such abstract questions of Constitutional law. Accordingly, this
objection to Judge Zoss’s Report and Recommendation is also overruled.


                                   III. CONCLUSION
       Therefore, for the reasons set out above, the court accepts Judge Zoss’s Report and
Recommendation and grants in part and denies in part defendant Ha’s Motion To
Dismiss Or Alternatively Prohibit Use of Plea Agreement. Accordingly, any admission
made by defendant Ha in the proposed plea agreement may not be used against him in any
way at trial.
       IT IS SO ORDERED.
       DATED this 9th day of April, 2008.


                                                  __________________________________
                                                  MARK W. BENNETT
                                                  U. S. DISTRICT COURT JUDGE
                                                  NORTHERN DISTRICT OF IOWA




                                             12


  Case 5:07-cr-04068-LTS-KEM          Document 258       Filed 04/09/08    Page 12 of 12
